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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

IN RE:

THOMAS HADLEY BAKER,                                     CASE NO. 19-06127-RCT

                                                         Chapter 7
        Debtor
_____________________________/


                    WITHDRAWAL OF TRUSTEE’S REPORT
         AND NOTICE OF INTENTION TO SELL PROPERTY OF THE ESTATE

       TRACI K. STEVENSON, duly appointed and acting Trustee, hereby withdraws her
Report and Notice of Intention to Sell Property of the Estate for the following reason(s):

         1. Filed error. Wrong case.

WHEREFORE, the Trustee respectfully requests that the Court withdraw her Report and Notice
of Intention to Sell Property of the Estate.


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the above and foregoing has been
furnished by U. S. Mail or hand delivered this September 28, 2019 to:

U. S. Trustee, 501 E. Polk Street, Ste. 1200, Tampa, FL 33602
Debtor, Thomas Hadley Baker, 9601 Marblehead Lane, New Port Richey, FL 34654, ,
Debtor’s Atty Matthew M Holtsinger, 109 North Brush Street, Suite 500, Tampa, FL 33602


                                                         /s/ Traci Stevenson
                                                         TRACI K. STEVENSON, TRUSTEE
                                                         P.O. Box 86690
                                                         Madeira Beach, FL 33738
                                                         (727) 397-4838
                                                         Florida Bar #942227
                                                         tracikstevenson@gmail.com
